            Case 3:21-cv-06118-JD        Document 103    Filed 02/27/23    Page 1 of 7


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18                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
19
20   DANIEL VALENTI, Individually and on Behalf         Case No.: 3:21-cv-06118-JD
     of All Others Similarly Situated,
21                                                      DEFENDANTS’ OPPOSITION TO
                                 Plaintiff,             FNF’S ADMINISTRATIVE MOTION
22                                                      TO FILE UNDER SEAL
               v.
23
                                                        Date: February 2, 2023
24   DFINITY USA RESEARCH LLC, DFINITY                  Time: 10:00 a.m.
     FOUNDATION and DOMINIC WILLIAMS,                   Courtroom: 11, 19th Floor
25                                                      Judge: Hon. James Donato
                                 Defendants.
26

27

28


          DEFENDANTS’ OPPOSITION TO FNF’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                   CASE NO. 3:21-CV-06118-JD
               Case 3:21-cv-06118-JD         Document 103        Filed 02/27/23       Page 2 of 7


 1            Defendants Dfinity USA Research, LLC, Dfinity Foundation and Dominic Williams

 2   (together, “Defendants”) submit this Opposition to Freedman Normand Friedland LLP’s

 3   (“FNF’s”) Administrative Motion to Seal (ECF No. 102).

 4                                         PRELIMINARY STATEMENT

 5            FNF seeks to seal the entire transcript of the 30(b)(6) deposition ordered by this Court

 6   (ECF No. 86), portions of FNF’s Supplemental Statement in Opposition to Defendants’ Motion to

 7   Disqualify (ECF No. 101) and a Memorandum of Understanding (“MOU”) that has already been

 8   filed publicly (ECF No. 72-12). 1 There is no legal justification for this extreme relief. The public

 9   has a fundamental right of access to judicial proceedings, which is precisely why the local rules

10   require the parties to “avoid wherever possible sealing entire documents”. Local R. 79-5(a). This

11   principle is particularly important in this case: the underlying issue that gave rise to the deposition

12   is the conflict between FNF’s own interests—laid bare by Mr. Roche’s statements and confirmed

13   by the continuing entanglement between FNF, Mr. Roche and Ava Labs—and those of the absent

14   putative class members they seek to represent. Having made no effort to circumscribe its sealing

15   request with any precision—FNF does not even bother to identify which portions of the transcript

16   should be sealed for which reasons—FNF hopes to shroud the evidence it claims absolves it of

17   any conflict in secrecy. The law of this circuit does not support such an extreme result.

18            More broadly, if FNF truly believed that Mr. Freedman’s testimony exonerated the firm

19   from concern about conflicts with the putative class, one would expect them to want the putative

20   class, the public and the press to know—particularly because this unusual motion arose out of

21   Mr. Roche’s statements about his firm’s misuse of the legal system. The fact that they have taken

22   the opposite approach is telling, particularly as they seek to justify the sealing request by making

23   explosive, unsubstantiated and baseless claims of threatened violence against Defendants. 2 Mr.

24   Normand claimed to the Court that FNF is an “open book”. (ECF No. 91, at 29:2-5.) Defendants

25   respectfully submit that the Court should hold FNF to that promise of sunlight and reject FNF’s

26   attempt now to keep the public and the people to whom they owe fiduciary duties in the dark.

27
         1
             Emphasis is added and citations and quotations are omitted unless otherwise noted.
28       2
             Defendants have filed a separate motion to strike these meritless allegations.
                                                       -1-
             DEFENDANTS’ OPPOSITION TO FNF’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                      CASE NO. 3:21-CV-06118-JD
             Case 3:21-cv-06118-JD          Document 103         Filed 02/27/23      Page 3 of 7




 1   I.     FNF HAS NOT ESTABLISHED GOOD CAUSE FOR SEALING THE 30(B)(6)

 2          DEPOSITION TRANSCRIPT

 3           FNF seeks to represent a putative class, and the deposition transcript makes clear that

 4   FNF’s ability to do so fairly and adequately has been compromised; the public should have access

 5   to this important document absent good cause to keep it under seal. “A party asserting good cause

 6   bears the burden, for each particular document it seeks to protect, of showing that specific

 7   prejudice or harm will result if no protective order is granted.” Foltz v. State Farm Mut. Auto. Ins.

 8   Co., 331 F.3d 1122, 1130 (9th Cir. 2003). First, this is a putative class action, and the underlying

 9   motion is rooted in a fundamental conflict between FNF and the putative class members it seeks

10   to represent. Putative class members have a right to know the details of FNF’s entanglement with

11   Ava Labs, which Mr. Roche admitted on tape drove this litigation and others. Cf. In re Anthem,

12   Inc. Data Breach Litig., No. 15-MD-02617-LHK, 2018 WL 11195115, at *3 (N.D. Cal. Feb. 2,

13   2018) (acknowledging “the Court’s duty to protect the interests of the absent class members”).

14          Second, “[t]he sealing request must . . . be narrowly tailored to seek sealing only of sealable

15   material”. Milliner v. Bock Evans Fin. Couns., Ltd., No. 15-cv-01763-JD, 2020 WL 1492692, at

16   *1 (N.D. Cal. Mar. 27, 2020); see also Local R. 79-5(a). Ignoring this requirement, FNF’s

17   Proposed Order requests that the “[e]ntire transcript” be sealed (ECF No. 102-2). That is obviously

18   not a narrowly tailored request. Indeed, FNF does not contend that testimony concerning its

19   ongoing relationship with Mr. Roche is sealable—though this was a key deposition topic. This

20   alone confirms that FNF asks for far too much when seeking an order sealing the entire transcript.

21   See Kamakahi v. Am. Soc’y for Reprod. Med, No. 11-CV-01781-JCS, 2014 WL 6617262, at *3

22   (N.D. Cal. Nov. 13, 2014) (“Plaintiffs’ failure to identify which portions of the transcript are

23   sealable is therefore inconsistent with [the Local Rules] . . . .”) While FNF does identify six other

24   categories of information that it asserts would justify sealing the transcript (ECF No. 102, at 1), it

25   makes no effort to provide any guidance as to what testimony falls into which category that would

26   allow the Court to consider each category on its own with reference to specific testimony.

27          In any event, not one of those categories is entitled to protection. To begin, much of the

28   information FNF seeks to keep under seal already is public. For instance, FNF’s former partner


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             Case 3:21-cv-06118-JD          Document 103         Filed 02/27/23      Page 4 of 7




 1   publicly filed in Florida state court the MOU that sets forth each FNF partner’s AVAX token

 2   allotment. See Compl. Ex. A, Cyrulnik v. Roche Freedman, et al., No. 2021-5837-CA-01 (Fla.

 3   11th Cir. Ct., Mar. 9, 2021). That is how Defendants had a copy of the document to use at the

 4   deposition (since no document discovery has taken place in this case). FNF asks the Court to seal

 5   the MOU “to the extent previously . . . authorized by the court in the Southern District of New

 6   York” (ECF No. 102, at 3), but does not explain which provisions that would apply to, which

 7   portions of the deposition transcript would correlate to the unspecified redactions from the MOU

 8   and how it could be that they are entitled to seal any portion of a document that is already available

 9   on a public docket. Information that is already public should not, of course, be lodged under seal.

10   See Synchronoss Techs., Inc. v. Dropbox Inc., No. 16-cv-00119-HSG, 2020 WL 759528, at *5

11   (N.D. Cal. Feb. 14, 2020) (“The Court DENIES the motions to seal as to [a certain excerpt]

12   because that information is unredacted elsewhere and thus publicly available.”).

13          Similarly, the number of AVAX tokens FNF received, and the months and years during

14   which they received those tokens, is set forth in Requests for Admission responses filed publicly

15   in a related action in New York. See R&Os to RFAs, Roche Freedman LLP v. Cyrulnik, No. 21-

16   cv-01746 (S.D.N.Y. Nov. 18, 2022) (ECF No. 288-1). Thus, with the exception of the dollar

17   amount of FNF attorneys’ token sales, FNF’s categories (iii), (iv) and (v) (ECF No. 102, at 1) are

18   already public and there is no basis whatsoever to put them under seal here.

19          As to the categories of documents that are not already public, FNF fails to make a

20   “particularized showing of good cause with respect to any individual document”. Foltz, 331 F.3d

21   at 1138. FNF’ s opening argument is that its agreements with Ava Labs are protected under Rule

22   26(c). (ECF No. 102, at 2.) But FNF has not demonstrated that these are the kinds of agreements

23   contemplated by Rule 26(c), which authorizes the court to issue a protective order “requiring that

24   a trade secret or other confidential research, development, or commercial information not be

25   revealed . . . .”. Fed. R. Civ. P. 26(c)(1)(G). FNF’s own case makes this clear. See Milliner, 2020

26   WL 1492692, at *2 (granting motion to seal because the non-party movant had “made a

27   particularized showing that disclosure of its highly negotiated agreement . . . would expose it to

28   competitive harm.”). The cases FNF cites for the general proposition that confidential agreements


                                                       3
             Case 3:21-cv-06118-JD          Document 103         Filed 02/27/23      Page 5 of 7




 1   involving non-parties are sealable are not on point either; in each case, the court sealed agreements

 2   with third parties because those agreements contained proprietary or other information, the sealing

 3   of which “prevent[ed] competitors from gaining insight into the parties’ business model and

 4   strategy”. Synchronoss, 2020 WL 759528, at *2. FNF has not argued that declining to seal

 5   testimony concerning its agreements with Ava Labs would expose it to competitive harm. 3

 6           As to its attorneys’ “assets and private transactions”, FNF appears to contend that its status

 7   as a non-party is sufficient. (ECF No. 102, at 2-3.) This argument fails. Though courts sometimes

 8   seal documents concerning “innocent third parties”, see, e.g., Digital Sin, Inc. v. Does 1-5698, No.

 9   C 11-04397 LB, 2011 WL 5362068, *4 (S.D. Cal. 2011), FNF is plainly not an “innocent third

10   party” here; its partners’ loyalty to—and financial interests in—one of Defendant’s direct

11   competitors is the reason for the pending motion. (See ECF No. 72.) Nor is it sufficient simply to

12   refer to unspecified categories of information as “sensitive financial information”. (ECF No. 102,

13   at 3.) FNF’s misleading partial quotation from Fundingsland v. OMH Healthedge Holdings makes

14   this clear: the court there did not seal all “information relating to payments to non-parties”, ECF

15   No. 102, at 3, but “proprietary information relating to payments to non-parties . . .”, 2018 WL

16   1524474, at *2 (S.D. Cal. Mar. 27, 2018). FNF has made no effort to demonstrate that its partners’

17   financial transactions, to the extent they are not already public, are in any way proprietary. 4

18           FNF’s final argument concerning purported “private interests” is that a judge in New York

19   sealed similar testimony. (ECF No. 102, at 3.) Those decisions applied Florida law, see, e.g.,

20       3
           FNF’s invocations of the ABA Model Rules and the California Business and Professions
21   Code are similarly meritless. ABA Rule 1.6, for instance, provides that an attorney may reveal
     information relating to the representation of a client “to comply with other law or a court order”.
22   FNF’s conflation of the confidentiality language in the Model Rules with a “reasonable
     expectation of privacy” only compounds the illogic. In Stiner v. Brookdale Senior Living, Inc.,
23   the case on which FNF relies for the proposition that clients have a reasonable expectation of
     privacy that renders sealing appropriate here, the protected documents included “detailed
24   corrective action and action plan forms”, the disclosure of which could “result in unnecessary
25   embarrassment or injury to those employees”. 2022 WL 1180216, at *3 (N.D. Cal. Mar. 30,
     2022). FNF has not even attempted to demonstrate such embarrassment or injury, much less
26   make a “particularized showing” of such “specific prejudice or harm”. Id. at *1.
         4
27          Even more absurd is FNF’s contention that the attorney who allegedly suggested that FNF
     consider suing Defendants constitutes a “confidential informant”. (ECF No. 102, at 3, 4.) Bligh
28   v. City of Manteca, for instance, concerns a confidential informant who provided information
     that led to a “SWAT style raid” of the movant’s home. 2017 WL 2813161, at *1.

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              Case 3:21-cv-06118-JD          Document 103         Filed 02/27/23       Page 6 of 7




 1   Order, Roche Freedman, No. 1:21-cv-01746 (S.D.N.Y. Feb. 28, 2022) (ECF No. 71), are not

 2   binding here and contain no legal analysis. Moreover, as discussed above, much of what FNF

 3   seeks to seal was already disclosed in that litigation. See R&Os to RFAs, Roche Freedman, No.

 4   1:21-cv-01746 (ECF No. 288-1). And FNF’s argument that sealing is even more appropriate here

 5   ignores once again the point: putative class members, and the public, have a right to determine

 6   whether FNF’s fiduciary duties have been “clouded or muddied in such a way that it will be a

 7   disservice to the named plaintiffs or the putative class” in a litigation that Mr. Roche specifically

 8   identified as being driven by his firm’s relationship with Ava Labs. (ECF No. 91, at 3:3-5.)

 9            Third, FNF fails to identify any actual “injury” that will result if the public and the members

10   of the putative class are allowed to evaluate the testimony. (ECF No. 102, at 3-5.) For example,

11   FNF argues that disclosure of FNF partners’ token transactions would allow someone to reverse-

12   engineer their wallet addresses and thereby expose them to a parade of horribles, including

13   physical violence. FNF did not raise this argument when opposing the 30(b)(6) topic concerning

14   FNF attorneys’ token holdings and transactions (see ECF No. 93), but manufactures it now that

15   FNF has made unflattering admissions under oath.             In any event, this argument is purely

16   speculative. FNF did not even provide testimony about particular transactions on particular dates,

17   and instead offered only aggregate information about the total AVAX tokens obtained and total

18   financial amounts obtained from token sales to date. FNF fails to explain, among other things,

19   (1) how such generalized information would allow someone to identify their wallet addresses; or

20   (2) how such identification would expose FNF partners to theft, cybercrime or physical violence.

21            Fourth, as discussed further in Defendants’ Motion to Strike, filed contemporaneously

22   herewith, FNF’s ad hominem attacks on Defendants (ECF No. 102, at 4-5) are inappropriate and

23   unavailing. Most outrageously, FNF accuses Defendants of “making threats on Mr. Roche’s life”.

24   (Id.) Yet FNF does not even try to substantiate that shocking accusation, which is unequivocally

25   false.   They also do nothing to explain how allowing Defendants to understand FNF’s

26   entanglement with Ava Labs has anything to do with these baseless accusations. Nor could they.

27   II.      CONCLUSION

28            For the foregoing reasons, Defendants submit that FNF’s request to seal should be denied.


                                                        5
              Case 3:21-cv-06118-JD     Document 103    Filed 02/27/23    Page 7 of 7




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